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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                November 10, 2021
                         UNITED STATES DISTRICT COURT                            Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION
Robert F. Strange, Jr                    §    CIVIL ACTION NO.
     Plaintiff,                          §    4:21−cv−03298
                                         §
                                         §
   vs.                                   §    JUDGE CHARLES ESKRIDGE
                                         §
                                         §
Deutsche Bank National Trust
Company                                  §
     Defendant.                          §



                           ORDER FOR CONFERENCE AND
                        DISCLOSURE OF INTERESTED PARTIES
         1.   Counsel and all parties appearing pro se shall appear for
              an initial pretrial conference:

                             January 5, 2022, at 01:30 PM
                            Before the Hon. Charles Eskridge
                                  United States Judge
                                      Courtroom 8B
                               United States Courthouse
                                     515 Rusk Street
                                  Houston, TX 77002

         2.   Within 90 days of filing the complaint or removing this
              suit from state court, the plaintiff or plaintiffs filing this
              suit or the party removing it must serve the opposing
              party or parties with copies of:

                  o     This Order;
                  o     The summons and complaint;
                  o     The Court's procedures with all attachments.

              Failure to file proof of service within that time may result
              in dismissal by the Court on its own initiative. See FRCP
              4(m).
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     3.   Within 15 days of receiving this Order, counsel for each
          party must file a list identifying all known attorneys of
          record and all persons or entities that are financially
          interested in this litigation, including parent, subsidiary,
          and affiliated corporations. An individual listing is not
          necessary when a group description is effective
          disclosure. Underline the names of corporations with
          publicly traded securities. Promptly amend the list
          whenever new parties or counsel are added or additional
          interested persons or entities are identified.

     4.   At least 14 days before the initial pretrial conference,
          counsel and all parties appearing pro se must complete
          and file the Joint Discovery/Case Management Plan using
          the form attached to the Court's procedures. See FRCP
          26(f).

     5.   Prior to the conference, the Court will typically enter a
          scheduling and docket control order. If none is entered, or
          if the parties will request a schedule different from one
          that has been entered, counsel must complete and file as
          an attachment to the Joint Discovery/Case Management
          Plan a joint proposed scheduling and docket control order
          using the form referenced in the Court's procedures. The
          parties must confer in good faith to seek agreement on
          deadlines for completion of all pretrial matters. Clearly
          identify any disagreements with reasons in support of the
          requests made.

     6.   By the day of the conference, counsel must interview
          their clients and read all relevant documents.

     7.   In advance of the conference, counsel must also discuss
          alternative dispute resolution with their clients and each
          other. At the conference, the Court will consider potential
          ADR methods suited to this case.

     8.   Counsel designated of record as attorney-in-charge must
          appear at the initial pretrial conference. The Court
          permits substitution of counsel for this conference only
          on showing of good cause. File and seek ruling on any
          such motion well in advance of the conference.
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     9.   The Court may address any pending motion at the
          conference. Any counsel or pro se party who appears at
          the conference must be:
             o   Fully familiar with the facts and the law
                 applicable to the case;
             o   Prepared to argue any pending motion and to
                 discuss any anticipated motion;
             o   Prepared to discuss potential alternative dispute
                 resolution methods suited to the case; and
             o   Authorized to bind the client on all matters
                 discussed at the conference.

     10. In any case set for an initial conference before the
         Magistrate Judge, he is granted authority (even when the
         case hasn't been entirely referred) in his discretion to:
             o   Adjust the date of the conference as needed;
             o   Adjust the scheduling and docket control order as
                 needed;
             o   Address and resolve and/or make
                 recommendation upon any pending motion;
             o   Undertake settlement conference upon joint
                 request; and
             o   Enforce all orders issued pursuant to his authority.

     11. The parties are bound by this Order, the papers
         mentioned in paragraphs 4 and 5 above, and the dates set
         out in the scheduling and docket control order to be
         entered in this case.

     12. Failure to comply with this Order may result in sanctions,
         including dismissal of the action and assessment of
         expenses.

                                   BY THE ORDER OF THE COURT
